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United States District Court
Eastern District of Michigan
Northern Division

United States of America,

Plaintiff, Case No. 23-cr-20121

Hon. Thomas L. Ludington
United States District Judge

Fredy Alonzo Poot-Naal Hon. Patricia T. Morris
United States Magistrate Judge

Defendant.
/

Plea Agreement

The United States of America and the defendant, Fredy Poot-Naal, have

reached a plea agreement under Federal Rule of Criminal Procedure 11. The plea

agreement’s terms are:

L Count of Conviction

The defendant will plead guilty to Count 1 of the indictment. Count 1 charges
the defendant with Reentry of Removed Alien under 8 U.S.C. § 1326(a).

Zi Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading guilty carries

the following minimum and maximum statutory penalties:

Count 1 Term of imprisonment: Up to 2 years
Fine: Not more than $250,000
Term of supervised release: Up to 1 year

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3. Agreement Not to Bring Additional Charges

If the Court accepts this agreement and imposes sentence consistent with its
terms, the United States Attorney’s Office for the Eastern District of Michigan will

not bring additional charges against the defendant for the conduct reflected in the

indictment.

4. Elements of Count of Conviction

The elements of Count 1 are: (1) the defendant is an alien; (2) the defendant
was deported or removed; (3) the defendant thereafter was found in the United
States; and (4) without having obtained permission from the Attorney General or the

Secretary of Homeland Security to reapply for admission to the United States.

5, Factual Basis

The parties agree that the following facts are true, accurately describe the

defendant’s role in the offense, and provide a sufficient factual basis for the

defendant’s guilty plea:

On or about January 28, 2023, in the Eastern District of Michigan, the
defendant, Fredy Poot-Nall, an alien and citizen of Mexico, was found
in the United States after having been deported and removed from the
United States on or about August 13, 2019, at or near Brownsville
Michigan, and not having obtained the express consent of the Attorney
General or the Secretary of Homeland Security to reapply for

admission to the United States.

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6. Advice of Rights

The defendant has read the indictment, has discussed the charges and possible
defenses with his attorney, and understands the crime charged. The defendant

understands that, by pleading guilty, he is waiving many important rights, including

the following:
A. The right to plead not guilty and to persist in that plea;
B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary, have the
court appoint counsel—at trial;

D. The right to be presumed innocent and to require the government to
prove the defendant guilty beyond a reasonable doubt at trial;

E. The right to confront and cross-examine adverse witnesses at trial;

F. The right to testify or not to testify at trial, whichever the defendant
chooses;

G. If the defendant chooses not to testify at trial, the right to have the jury
informed that it may not treat that choice as evidence of guilt;

H. The right to present evidence or not to present evidence at trial,
whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

Ts Collateral Consequences of Conviction

The defendant understands that his conviction here may carry additional

consequences under federal or state law. The defendant understands that, if he is not

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a United States citizen, his conviction here may require him to be removed from the
United States, denied citizenship, and denied admission to the United States in the
future. The defendant further understands that the additional consequences of his
conviction here may include, but are not limited to, adverse effects on the
defendant’s immigration status, naturalized citizenship, right to vote, right to carry
a firearm, right to serve on a jury, and ability to hold certain licenses or to be
employed in certain fields. The defendant understands that no one, including the
defendant’s attorney or the Court, can predict to a certainty what the additional
consequences of the defendant’s conviction might be. The defendant nevertheless
affirms that the defendant chooses to plead guilty regardless of any immigration or
other consequences from his conviction.

8. Defendant’s Guideline Range
A.  Court’s Determination

The Court will determine the defendant’s guideline range at sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal Procedure
11(c)(1)(B) that the defendant receive a two-level reduction for acceptance of
responsibility under USSG § 3E1.1(a). If, however, the government learns that the
defendant has engaged in any conduct inconsistent with acceptance of

responsibility—including, but not limited to, making any false statement to, or

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withholding information from, his probation officer; obstructing justice in any way;
denying his guilt on the offense to which he is pleading guilty; committing additional
crimes after pleading guilty; or otherwise demonstrating a lack of acceptance of
responsibility as defined in USSG § 3E1.1—the government will be released from
its obligations under this paragraph, will be free to argue that the defendant not
receive any reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for obstruction of justice

under USSG § 3C1.1.

C. Factual Stipulations for Sentencing Purposes

The parties have no additional factual stipulations for sentencing purposes.

D. Parties’ Obligations

Both the defendant and the government agree not to take any position or make
any statement that is inconsistent with any of the guideline recommendations or
factual stipulations in paragraphs 8.B or 8.C. Neither party is otherwise restricted in
what it may argue or present to the Court as to the defendant’s guideline calculation.

F. Not a Basis to Withdraw

The defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if he disagrees, in any way, with the guideline
range determined by the Court, even if that guideline range does not incorporate the

parties’ recommendations or factual stipulations in paragraphs 8.B or 8.C. The

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government likewise has no right to withdraw from this agreement if it disagrees
with the guideline range determined by the Court.

9. Imposition of Sentence
A.  Court’s Obligation

The defendant understands that in determining his sentence, the Court must
calculate the applicable guideline range at sentencing and must consider that range,
any possible departures under the sentencing guidelines, and the sentencing factors
listed in 18 U.S.C. § 3553(a), and apply any applicable mandatory minimums.

B. Imprisonment

Je Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the government
recommends that the defendant’s sentence of imprisonment on Count | not exceed
the midpoint of the defendant’s guideline range as determined by the Court.
2. No Right to Withdraw
The government’s recommendation in paragraph 9.B.1 is not binding on the
Court. The defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow the
government’s recommendation. The government likewise has no right to withdraw
from this agreement if the Court decides not to follow the government’s

recommendation. If, however, the Court rejects or purports to reject any other term

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or terms of this plea agreement, the government will be permitted to withdraw from

the agreement.

C. Supervised Release
L. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court not impose a term of supervised release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The defendant
understands that he will have no right to withdraw from this agreement or withdraw
his guilty plea if the Court decides not to follow the parties’ recommendation. The
defendant also understands that the government’s recommendation concerning the
length of the defendant’s sentence of imprisonment, as described above in paragraph
9.B.1, will not apply to or limit any term of imprisonment that results from any later
revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E. Special Assessment

The defendant understands that he will be required to pay a special assessment

of $100, due immediately upon sentencing.

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10. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed the top of the

guideline range determined by the Court, the defendant also waives any right he may

have to appeal his sentence on any grounds.

11. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective assistance
of counsel or prosecutorial misconduct, as long as the defendant properly raises
those claims by collateral review under 28 U.S.C. § 2255. The defendant also retains
the right to pursue any relief permitted under 18 U.S.C. § 3582(c), as long as the
defendant properly files a motion under that section. The defendant, however,
waives any other right he may have to challenge his conviction or sentence by
collateral review, including, but not limited to, any mght he may have to challenge
his conviction or sentence on any grounds under 28 U.S.C. § 2255 (except for
properly raised ineffective assistance of counsel or prosecutorial misconduct claims,
as described above), 28 U.S.C. § 2241, or Federal Rule of Civil Procedure 59 or 60.

12. Consequences of Withdrawal of Guilty Plea or Vacation of Judgment

If the defendant is allowed to withdraw his guilty plea, or if the defendant’s
conviction or sentence under this agreement is vacated, the government may

reinstate any charges against the defendant that were dismissed as part of this

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agreement and may file additional charges against the defendant relating, directly or
indirectly, to any of the conduct underlying the defendant’s guilty plea or any
relevant conduct. If the government reinstates any charges or files any additional
charges as permitted by this paragraph, the defendant waives his right to challenge
those charges on the ground that they were not filed in a timely manner, including
any claim that they were filed after the limitations period expired.

13. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his guilty plea for any
reason, he waives all of his nghts under Federal Rule of Evidence 410, and the
government may use his guilty plea, any statement that the defendant made at his
guilty plea hearing, and the factual basis set forth in this agreement, against the
defendant in any proceeding.

14. Parties to Plea Agreement

This agreement does not bind any government agency except the United
States Attorney’s Office for the Eastern District of Michigan.

15. Scope of Plea Agreement

This plea agreement is the complete agreement between the parties and
supersedes any other promises, representations, understandings, or agreements
between the parties concerning the subject matter of this agreement that were made

at any time before the guilty plea is entered in court. Thus, no oral or written

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promises made by the government to the defendant or to the attorney for the
defendant at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement. If the parties
have entered, or subsequently enter, into a written proffer or cooperation agreement,
though, this plea agreement does not supersede or abrogate the terms of that
agreement. This plea agreement also does not prevent any civil or administrative
actions against the defendant, or any forfeiture claim against any property, by the
United States or any other party.

16. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the United
States Attorney’s Office by 5:00 p.m. on Friday, March 17, 2023. The government

may withdraw from this agreement at any time before the defendant pleads guilty.

Dawn N. Ison
United States Attorne

Kuta Luan
Katharine Hemann
Offices Assistant United States Attorney

Anthony P.
Chief, Bra

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By signing below, the defendant and his attorney agree that the defendant has
read or been read this entire document, has discussed it with his attorney, and has
had a full and complete opportunity to confer with his attorney. The defendant
further agrees that he understands this entire document, agrees to its terms, has had

all of his questions answered by his attorney, and is satisfied with his attorney's

advice and representation.

hie bh

Elias Es€obedo Fredy Poof Waal
Attorney for tO ai Mee nen

Dated: C028

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OFFENSE LEVEL

Fredy Poot-Naal District/Office Eastern District of Michigan

Defendant

Docket Number 23-¢t-20121

Count Number(s) 1 U.S. Code Title & Section 8 - 1326(a)

Guidelines Manual Edition Used: 2021 (Note: The Worksheets are keyed to the November 1, 2016 Guidelines Manual)

INSTRUCTIONS
Complete a separate Worksheet A for each count of conviction or as required in a situation listed at the bottom of Worksheet B.*
Exceptions: Use only a single Worksheet A where the offense level for a group of closely related counts is based primarily on
aggregate value or quantity (see §3D1.2(d)) or where a count of conspiracy, solicitation, or attempt is grouped with a substantive
count that was the sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) & (b)).

1. Offense Level (See Chapter Two) sat Si
Enter the applicable base offense level and any specific offense characteristics from Chapter Two and explain the

bases for these determinations. Enter the sum in the box provided.

Guideline Description Level
2L1.2(a) Unlawfully Entering or Remaining in the United States 8

If the Chapter Two guideline requires application of a cross reference or other
reference, an additional Worksheet A may be needed for that analysis. See §1B1.5. sum |8

2. Victim-Related Adjustments (See Chapter Three, Part A)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable, § 0

enter “0”.

3. Role in the Offense Adjustments (See Chapter Three, Part B)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If the adjustment reduces the § 0
offense level, enter a minus (—) sign in front of the adjustment. If no adjustment is i

applicable, enter “0”.

4. Obstruction Adjustments (See Chapter Three, Part C)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable, § 0

enter “0”.

5. Adjusted Offense Level

Enter the sum of Items 1-4. If this Worksheet A does not cover all counts of conviction or situations
listed at the bottom of Worksheet B, complete Worksheet B. Otherwise, enter this result on [8

Worksheet D, Item 1.

J Check here if all counts (including situations listed at the bottom of Worksheet B)* are addressed on this one
Worksheet A. If so, no Worksheet B is used.

Y If the defendant has no criminal history, enter “I” here and on Worksheet D, Item 4. No Worksheet C is used.

U.S. Sentencing Commission Worksheets (November 1, 2016)
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O

Worksheet C — Criminal History [Page

Defendant, Poy Poet Nem Docket Number 23-cr-20121

(continued from Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birthday)

Date of Release Guideline Criminal

imposition SaSIag semehce Date Section History Points

3. Sum of Criminal History Points for prior sentences under §4A1.1(q), (b), & (c) in Items 1 & 2

A total of 4 points can be added for all the 1-Point sentences counted in Items 1 & 2 combined. 0

4. “Status” of Defendant at Time of Instant Offense
2 Points for “status” if the defendant committed any part of the instant offense (7.e., any relevant

conduct) while under any criminal justice sentence (e.g., probation, parole, supervised release, 0
imprisonment, work release, or escape status) for a sentence counted in Items 1 or 2. See §4A1.1(d)

and Application Note 4. List the type of control and identify the counted sentence that resulted in the
control. Otherwise, enter 0 Points.
Parole

5. Crimes of Violence
1 Point for each prior sentence resulting from a conviction of a crime of violence that did not receive

any points under §4A1.1(a), (b), or (c) because such sentence was counted as a single sentence which 0
also included another sentence resulting from a conviction for a crime of violence. A total of 3 points

can be added under this subsection. See §4A1.1(e) and Application Note 5, and §4A1.2(a)(2) & (p).
Identify the crimes of violence and briefly explain why the cases are considered a single sentence.
Otherwise, enter 0 Points.

4. Total Criminal History Points (Sum of Items 3-5)

P

5. Criminal History Category (Enter here and on Worksheet D, Item 4)

Total Points Criminal History Category
0-1 I
2-3 II |
4—6 Ill
7-9 IV
10-12 Vv
13 or more VI

U.S. Sentencing Commission Worksheets (November 1, 2016)
DETERMINING THE SENTENCE
[Page | of 4]

Defendant Fredy Poot-Naal Docket Number 23-cr-20121

Adjusted Offense Level (From Worksheet A or B)
If Worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise, enter the result

from Worksheet A, Item 5.
Acceptance of Responsibility (See Chapter Three, Part E}

Enter the applicable reduction of 2 or 3 levels. If no adjustment is applicable, enter “0”.

Offense Level Total (Item 1] less Item 2)

Criminal History Category (From Worksheet A or C)
Enter the result from Worksheet C, Item 8, unless the defendant has no criminal history, and as
directed at the bottom of Worksheet A, no Worksheet C is used and “I” is entered here.

[-2

0

Terrorism; Career Offender; Criminal Livelihood; Armed Career Criminal; Repeat and Dangerous

Sex Offender (See Chapter Three, Part A, and Chapter Four, Part B)

a. Offense Level Total

If the provision for Career Offender (§4B1.1), Criminal Livelihood (§4B1.3), Armed Career N/A
Criminal (§4B1.4), or Repeat and Dangerous Sex Offender (§4B1.5) results in an offense level total
higher than Item 3, enter the offense level total. Otherwise, enter “N/A”.
b. Criminal History Category
If the provision for Terrorism (§3A1.4), Career Offender (§4B1.1), Armed Career Criminal (§4B1.4), N/A
or Repeat and Dangerous Sex Offender (§4B1.5) results in a criminal history category higher than
Item 4, enter the applicable criminal history category. Otherwise, enter “N/A”.
Guideline Range from Sentencing Table
Enter the applicable guideline range from Chapter Five, Part A, in months. 0 ; 6
0
Restricted Guideline Range (See Chapter Five, Part G) + 60 mo.'s mandatory consecutive
If the statutorily authorized maximum sentence or the statutorily required
minimum sentence restricts the guideline range (Item 6) (see §§5G1.1 and 5G1.2), N/A to

enter either the restricted guideline range or any statutory maximum or minimum
penalty that would modify the guideline range. Otherwise, enter “N/A”.

18 U.S.C. § 3553(e) — “The Safety Valve” — are applicable.

Undischarged Term of Imprisonment; Anticipated State Term of Imprisonment (See §5G1.3)

Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) and

If the defendant is subject to an undischarged term of imprisonment, or an anticipated state term of
imprisonment, check this box. Below list the undischarged/anticipated term(s), the applicable section of
§5G1.3 and its direction or guidance as to whether the instant federal sentence is to be imposed to run

concurrently or consecutively to the undischarged/anticipated term(s), and any sentence adjustment.

U.S. Sentencing Commission Worksheets (November 1, 2016)
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Worksheet D — Determining the Sentence [Page 2 of 4]

Defendan

t Fredy Poot-Naal

Docket Number 23-¢r-20121

9. Sentencing Options (See Chapter Five, Sentencing Table and §§5B1.1(a) and 5C1.1)

Check the applicable box that corresponds to the Guideline Range entered in Item 6 or Item 7, if applicable.

Zone A (See §§5B1.1(a)(1} & 5C1.1(a) & (b))

v

If checked, the following options are available:

Fine (See §§5C1.1(b) & 5E1.2(a))
“Straight” Probation (See §§5B1.1(a)(1) & 5C1.1(b))

Imprisonment (See §5C1.1(a) & (c)(1))

Zone B (See §§5B1.1(a)(2) & 5C1.1(a) & (c))

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (c)(2))

Imprisonment of at least one month plus supervised release with a condition that
substitutes community confinement or home detention for imprisonment

(See §5C1.1(c)(2))

Probation with a condition that substitutes intermittent confinement, community
confinement, or home detention for imprisonment (See §§5B1.1(a)(2) and 5C1.1(c)(3))

Zone C (See §5C1.1(a) & (d))

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (d)(1))

Imprisonment of at least one-half of the minimum term plus supervised release
with a condition that substitutes community confinement or home detention for

imprisonment (See §5C1.1(d)(2))

Zone D (See §5C1.1(a) & (f))

If checked, the minimum term is to be satisfied by a sentence of imprisonment

10. Length of Term of Probation (See §5B1.2)

If probation is imposed, the guideline for the length of such term of probation is: (Check the applicable box)

v

At least one year, but not more than five years if the offense level total is 6 or greater.

No more than three years if the offense level total is 5 or less.

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Worksheet D — Determining the Sentence [Page 3 of 4]

Defendant Fredy Poot-Naal Docket Number 23-¢1-20121

11. Supervised Release (See §§5D1.1 and 5D1.2)

a. Imposition of a Term of Supervised Release:

Ordered because required by statute (See §5D1.1(a)(1)).

Ordered because a sentence of imprisonment of more than one year is imposed (See §5D1.1(a)(2)).

Is not ordered although a sentence of more than one year is imposed, because it is not required by
statute and the defendant likely will be deported after imprisonment (See §5D1.1(c)).

Ordered because it may be ordered in any other case (See §5D1.1(b)).

b. Length of Term of Supervised Release

Check the Class of the Offense:

Class A or B Felony: Two to Five Year Term (See §5D1.2(a)(1))

Class C or D Felony: One to Three Year Term (See §5D1.2(a)(2))

Class E Felony or Class A Misdemeanor: One Year Term (See §5D1.2(a)(3))

If a statutorily required mandatory minimum term of supervised release for the offense impacts the
guideline range for the applicable Class of Offense above, also check this box, and list the statutory

minimum term (See §5D1.2(c)):

years mandatory minimum term of supervised release

If an offense in 18 U.S.C. § 2332b(g)(5)(B) that resulted in, or created a foreseeable risk of, death or
serious bodily injury to another person; or if a sex offense, the term of supervised release will not be
less than the minimum term established above, and may be up to life (See §5D1.2(b)).

Policy Statement: If a sex offense, the statutory maximum term of supervised release is recommended.

12. Restitution (See §5E1.1)

a. Ifrestitution is applicable, enter the amount. Otherwise enter “N/A” and the reason:

b. Enter whether restitution is statutorily mandatory or discretionary:

Enter whether restitution is by an order of restitution, or solely as a condition of supervision. Enter the
authorizing statute:

c.

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Worksheet D — Determining the Sentence (Pag of 4]

t Fredy Poot-Naal Docket Number 2376-20121

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13. Fines (The Guideline Range for Fines for Individual Defendants) (See §5E1 =e)

a. Special Fine Provisions Minimum Maximum

Check box if any of the counts of conviction is for a statute with
a special fine provision. (This does not include the general fine
provisions of 18 USC § 3571(b)(2) & (d)).

Enter the sum of statutory maximum fines for all such counts. $

b. Fine Table (§5E1.2(c)(3)) $ $

Enter the minimum and maximum fines.

c. Fine Guideline Range
(Determined by the minimum of the Fine Table (Item 13(b)) and the $ $
greater maximum above (Item 13(a) or 13(b))).

d. Ability to Pay

Check this box if the defendant does not have an ability to pay.

14. Special Assessments for Individual Defendants (See §5E1.3)

Enter the total amount of the statutory special assessments required for all counts of conviction:

e $100 for each felony count of conviction.

e $25 for each Class A misdemeanor count of conviction.

e While not subject to guideline sentencing, the special assessments for a Class B misdemeanor,
and a Class C misdemeanor or infraction are $10 and $5 per count, respectively.

TOTAL: $

15. Factors That May Warrant a Departure (See §1B1.1(b))

Consider Chapter Five, Part H (Specific Offender Characteristics) and Part K (Departures), and other policy
statements and commentary in the Guidelines Manual that might warrant consideration in sentencing.
(See also the “List of Departure Provisions” included in the Guidelines Manual after the Index).

16. Factors That May Warrant a Variance (See §1B1.1(c))
Consider the applicable factors in 18 U.S.C. § 3553(a) taken as a whole.

Date March 3 ,2023

Completed by Katharine Hemann

U.S. Sentencing Commission Worksheets (November 1, 2014)

